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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


U.S. CITIZEN,

Address withheld

              Plaintiff,

U.S. COMPANY

Address withheld

              Plaintiff,

      v.

U.S. AGENCY FOR INTERNATIONAL
DEVELOPMENT,
                                           Case No. 19-cv-1012

Address:
Ronald Reagan Building
Washington, D.C. 20523-1000

              Defendant,

MICHAEL MCCORD, in his official
capacity as Deputy Mission Director,
U.S. Agency for International
Development, Afghanistan

Address:
American Embassy Kabul
Unit 6180 Box 0060
DPO AE 09806-0060

              Defendant,
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 UNKNOWN AGENTS
 Of the U.S. Agency for International
 Development,

 Address:
 Unknown

               Defendants.




               COMPLAINT AND DEMAND FOR A JURY TRIAL

      Plaintiffs U.S. CITIZEN and U.S. COMPANY, by their undersigned counsel,

hereby file this Complaint and Demand for Jury Trial and state the following:

                                I. INTRODUCTION

      1.     This is a case in which Plaintiff U.S. COMPANY was suddenly

forbidden to perform work under awards from the U.S. Agency for International

Development (USAID) for reasons never disclosed to Plaintiffs and, upon request for

the reasons, intentionally withheld from them. The decision was arbitrary and

capricious from the outset, given Plaintiffs’ sterling reputations and historic

performance of contracts. But the decision also deprived Plaintiffs of a liberty

interest without due process of law, as they have been given neither notice of the

basis for which U.S. COMPANY was excluded nor an opportunity to rebut that

basis. And it also violated the Federal Acquisition Regulations.




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                                    II. PARTIES

       2.     U.S. CITIZEN is a dual citizen of the United States and Afghanistan.

He was born in Seattle, Washington, graduated from an Ivy League university, and

holds a Master of Business Administration degree. U.S. CITIZEN is the Chairman

and sole proprietor of U.S. COMPANY.

       3.     U.S. COMPANY is a sole proprietorship established and operating

under the laws of the Commonwealth of Virginia.

       4.     The U.S. Agency for International Development is a federal agency.

       5.     Michael McCord served, at all relevant times, as the Deputy Mission

Director for USAID’s mission in Afghanistan. Mr. McCord is named as a defendant

in his official capacity.

       6.     The unknown defendants are other government officials who

participated in the decision to exclude Plaintiffs or to deny them notice of the basis

therefor or an opportunity to rebut that basis.

                            III. JURISDICTION & VENUE

       7.     This court has jurisdiction under U.S. Const. art. III, § 2, and 28

U.S.C. § 1331 because the case arises under the Constitution and laws of the United

States.

       8.     Venue is appropriate under 28 U.S.C. § 1391(e)(1) because Defendant

USAID is headquartered in this district or, alternatively, because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred within this

district.



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                         IV. STATEMENT OF THE CASE

      A. Background

      9.       U.S. COMPANY was founded in 2009 and has a branch office in Kabul,

Afghanistan.

      10.      U.S. COMPANY provides a full range of professional business services

including accounting, payroll, auditing, and tax services. Since its inception, U.S.

COMPANY has performed hundreds of prime and subcontracts primarily for U.S.

government agencies, including the Department of State, the Department of

Defense, and USAID.

      11.      U.S. COMPANY and its key individuals have been vetted and cleared

dozens of times through both government and private due-diligence processes—

most recently for a grant award made by PRIME CONTRACTOR 1 in 2017. U.S.

COMPANY has been fully vetted by TRACE International, and has been certified

by that globally-recognized organization as having successfully gone through

TRACE International’s gold standard in due diligence. See Ex. 1.

      12.      U.S. COMPANY currently employs hundreds of staff, mostly Afghan

nationals, and has short-term consultants in all 34 provinces in Afghanistan. U.S.

COMPANY's contribution to the U.S. mission and the economic development of

Afghanistan is thus substantial. U.S. COMPANY carefully vets its own employees

through compiling extensive background information, verifying credentials,

contacting references via mail and telephonically, and searching 60 restricted party

lists through a service called Visual Compliance.

      13.      U.S. COMPANY has obtained International Standards Organization

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(ISO) 9001 certification for quality management, which signifies that U.S.

COMPANY ensures that its products and services consistently meet customer

requirements and that quality is consistently monitored and improved.

      14.    U.S. COMPANY has annually received a clean, unqualified audit of its

financial statements.

      15.    U.S. COMPANY routinely receives excellent contractor performance

assessment reports and has been able to build a customer base as a result of its

solid reputation in an environment that is challenging given the wartime conditions

and instability.

      B. Sudden Termination of Contracts

      16.    On June 26, 2017, PRIME CONTRACTOR 1 received a notice of

ineligibility issued by USAID/Afghanistan directing DAI to terminate U.S.

COMPANY’s subcontract under a USAID task order.

      17.    According to PRIME CONTRACTOR 1, it received notice on that day

that USAID determined U.S. COMPANY to be ineligible to receive the subcontract

award. U.S. COMPANY had not, and still has not, received any notification directly

from USAID regarding its termination from the subcontract.

      18.    On June 29, 2017, PRIME CONTRACTOR 1 terminated U.S.

COMPANY’s subcontract for convenience. See Exhibit 2.

On July 3, 2017, U.S. COMPANY was notified by PRIME CONTRACTOR 2 that

USAID had directed the termination of U.S. COMPANY’s subcontract under a

USAID prime award. That notice included USAID’s finding that U.S. COMPANY

was no longer eligible to receive the subcontract, but it provided no explanation for
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this recent change in eligibility. See Exhibit 3.

       19.      On July 5, 2017, U.S. COMPANY received an email from PRIME

CONTRACTOR 3, providing a stop-work notification for a purchase order under

another USAID award. Again, U.S. COMPANY received neither notice from

USAID nor any explanation for the ineligibility findings.

       20.      These terminations impinge upon U.S. COMPANY’s interests in doing

business with the U.S. government. Moreover, the reason for the terminations—

that U.S. COMPANY was deemed ineligible for award by USAID—make it

impossible for U.S. COMPANY to subcontract for these or other prime contractors

or to hold prime contracts in its own right. It will also impinge on U.S.

COMPANY’s ability to do business with private clients.

       21.      As a result of USAID’s actions, Plaintiffs have been de facto debarred

from doing business with USAID. This impinges on interests protected by the Due

Process Clause.

       C. Prescribed Vetting Process

       22.      The aforementioned subcontracts informed U.S. COMPANY that it

would be subject to USAID Mission Order 201.05. That Mission Order imposes

vetting requirements on “[a]ny proposed non-U.S. recipient” of a USAID contracts

and assistance awards, at any tier. Mission Order 201.05, App’x A §§ 1(a), 1(b)

(emphasis added).

       23.      Plaintiff U.S. COMPANY is a U.S. company. Plaintiff U.S. CITIZEN is

a citizen of the United States. Thus, vetting was not required under Mission Order

§§ 1(a)-(b).
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       24.     The same Mission Order provides, “Even if vetting would not otherwise

be required under these rules, vetting will be conducted whenever USAID has

reason to believe that the Awardee or Sub-awardee could be a Prohibited Party.”

Id. § 1(e).

       25.     “Prohibited Party” is defined as “an individual or entity that USAID

knows or has reasonable grounds to suspect (i) supports or has supported terrorist

activities, (ii) is or has been engaged in terrorist activities, (iii) poses a significant

risk of committing terrorist activities, or (iv) is or has been engaged in other

activities which are contrary to the national security or foreign policy interests of

the United States.” Id. (Definitions).

       26.     Neither Plaintiff has ever been told that USAID had “reason to

believe” that U.S. COMPANY could be a “Prohibited Party” and thus subjected U.S.

COMPANY to vetting, let alone what the reason could be for such a belief.

       27.     The Mission Order provides further, “Once an ineligibility

determination has been made, the cognizant CO or AO is responsible for

communicating with the prime Awardee or, if applicable, the Subawardee being

vetted (with a copy to the prime Awardee), using the appropriate language shown in

Appendix C.” Id. § 5(b). Appendix C to the Mission Order sets forth a form letter

notifying a putative implementing partner that they have been determined

ineligible for the subject award.

       28.     Neither Plaintiff has ever received the notification prescribed in

Section 5(b) of the Mission Order and appended thereto.



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      29.    Plaintiff U.S. CITIZEN emailed the Kabul Vetting Support Unit (VSU)

on June 17, 2017, to request more information about the basis for his company’s

ineligibility. Ex. 4. He made clear that “a US security vetting rejection would be

catastrophic to [his] business” and reiterated that Plaintiffs had “been cleared by

US AID VSU dozens of times before.” Id. Plaintiff U.S. CITIZEN followed up on

June 28, 2017, with three specific questions:

             1. Do U.S. companies owned 50% or more by a U.S. citizen
             not require local security vetting?

             2. If I have unwittingly hired someone in my . . . company
             that has a security concern, shouldn't USAID VSU inform
             me so that I may terminate him/her as a matter of security
             of U.S. interests?

             3. U.S. COMPANY's management all have MRPT
             clearances. May I submit each U.S. COMPANY employee
             one by one to Kabul RSO for background investigation?

Id.

      30.    These emails did result in one generic reply on July 2, 2017. That

reply did not answer any of U.S. CITIZEN’s questions, however. The email merely

stated, “In the event of an ineligibility finding, notice will be given to the prime

awardee with all of the information that can be shared.” On information and belief,

this notice and information were never provided.

      31.    Even if the Mission Order’s procedures had not applied, then Plaintiffs

should have been subject to the contractor-responsibility determinations in the

Federal Acquisition Regulation (FAR).

      32.    The FAR provides due-process safeguards before a putative contractor

or subcontractor may be suspended or debarred from federal awards. See 48 C.F.R.

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§§ 9.406-3 (debarment), 9-407-2 (suspension). Those due-process safeguards include

written notice, a copy of the administrative record, and the opportunity to be heard

in person before the contractor can be suspended or debarred. Id. These safeguards

are not discretionary, but are, instead, necessary to protect contractors’

constitutional rights. See Old Dominion Dairy Prods. v. Sec’y of Def., 631 F.2d 953,

963 (D.C. Cir. 1980) (contractor entitled to due process, including opportunity to be

presented with facts and to respond, before it can be found nonresponsible on basis

of business integrity); NEIE, Inc. v. United States, 2013 WL 6406992, **16-24 (Fed.

Cl. 2013); Afghan Am. Army Servs. Corp. v. United States, 106 Fed. Cl. 714 (2012).

      D. Lack of Notice to Plaintiffs

      33.    Neither Plaintiff has ever received any notice directly from USAID.

      34.    None of the notices from prime contractors contained any explanation

of the basis on which USAID was deeming U.S. COMPANY ineligible.

      35.    The July 2, 2017 e-mail response mentioned above, which merely

summarized USAID’s policy and process for ineligibility findings, neither addressed

U.S. CITIZEN’s questions nor stated any basis on which U.S. COMPANY had been

found ineligible.

      E. Lack of Opportunity to Be Heard

      36.    On July 5, 2017, U.S. COMPANY requested through counsel that

USAID reconsider its determination.

      37.    U.S. COMPANY requested that, in the alternative, USAID “provide

[U.S. COMPANY] sufficient information about USAID’s vetting concerns so that

they can be addressed and remedied.”

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       38.     On August 6, 2017, Michael McCord, Deputy Mission Director, USAID,

responded to U.S. COMPANY’s request.

       39.     Mr. McCord’s letter merely regurgitated the Mission Order’s

admonition that “vetting will be conducted whenever USAID has reason to believe

that the Awardee or Sub-awardee could be a Prohibited Party,” and that “all

ineligible decisions are final . . . without a reconsideration process.”

       40.     Mr. McCord contended further that “the Mission’s discretion to vet is

not limited by the nationality of the organization.”

       41.     Finally, Mr. McCord stated (notwithstanding the text of the Mission

Order) that “it is not the Mission's policy to send ineligibility letters to

Subawardees,” but, rather, “to correspond directly with the prime award holder

regarding determinations of sub-awardee eligibility or lack thereof.”

       42.     Defendant McCord told U.S. COMPANY to “contact the Kabul Vetting

Support Unit, kblaidvsu@usaid.gov, with any further questions.”

       43.     In short, Defendants have left Plaintiffs in the dark about why they

were vetted in the first place, clueless as to what caused U.S. COMPANY to be

deemed ineligible, and without recourse to regain U.S. COMPANY’s eligible status.

       F. Heightened Concerns

       44.     Segments of the Afghan government have proven themselves willing to

set up obstacles to U.S. COMPANY as punishment for U.S. COMPANY refusing to

engage in widespread corruption. In other words, USAID vetting has become a tool

for Afghan political institutions to target implementers who refuse to go along with

illegal conduct.
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      45.     Plaintiffs have and Defendants should have, therefore, heightened

concerns about the plausibility of any expressed concerns that have caused, or

contributed to, U.S. COMPANY’s ineligibility determination.

                                     V. CLAIMS

                                    Count I
               (Arbitrary, Capricious, or Abusive Agency Action)
                              (Defendant USAID)

      46.     Paragraphs 9-45 are incorporated herein.

      47.     Defendants’ decision to exclude Plaintiffs from awards was a final

agency action, reviewable under the Administrative Procedure Act for arbitrariness,

caprice, or abuse of discretion. 5 U.S.C. §§ 704, 706(2)(A).

      48.     Given Plaintiffs’ unimpeachable record of performance until the point

of termination, the heightened concerns illustrated in § IV.F, supra, and the lack of

any stated basis for the exclusion, it was arbitrary, capricious, or an abuse of

discretion to exclude Plaintiffs from USAID awards.

      49.     The exclusion was also arbitrary, capricious, or abusive for reasons

that may be uncovered through discovery.

      WHEREFORE, Plaintiffs request the relief stated in their Requests for Relief.

                                      Count II
                           (Deprivation of Due Process)
                                 (All Defendants)

      50.     Paragraphs 9-45 are incorporated herein.

      51.     The result of Defendants’ vetting decision is a de facto debarment,

which triggers Due Process Clause protections.

      52.     Defendants gave Plaintiffs no notice of the basis on which they were

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excluded from USAID awards.

      53.       Defendants gave Plaintiffs no opportunity to rebut that basis.

      54.       In this regard and in others that may be uncovered through discovery,

Defendants violated Plaintiffs’ due-process rights.

      55.       This claim is brought against the federal agencies directly under the

Constitution or under the Administrative Procedure Act, 5 U.S.C. §§ 702, 706(2)(B),

and against the individual defendants (known and unknown) under Bivens v. Six

Unknown Federal Agents, 403 U.S. 388 (U.S. 1971) and its progeny.

      WHEREFORE, Plaintiffs request the relief stated in their Requests for

      Relief.

                                      Count III
                   (Violation of Federal Acquisition Regulations)
                                  (All Defendants)

      56.       Paragraphs 9-45 are incorporated herein.

      57.       Alternatively, even if the Mission Order had not applied, Plaintiffs

would have been entitled to the safeguards provided in the Federal Acquisition

Regulation, 48 C.F.R. §§ 9.406-3 (debarment), 9-407-2 (suspension).

      58.       Defendants’ failure to provide written notice, a copy of the

administrative record, and the opportunity to be heard in person violated these

regulations.

      WHEREFORE, Plaintiffs request the relief stated in their Requests for

      Relief.

                               REQUESTS FOR RELIEF

      WHEREFORE, Plaintiffs request that this Honorable Court grant them
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declaratory and injunctive relief as follows:

      A.     Declaring that Defendants’ actions were arbitrary, capricious, or an

             abuse of discretion;

      B.     Declaring that Defendants’ actions deprived Plaintiffs of their liberty

             interests without due process of law, in violation of the Fifth

             Amendment of the U.S. Constitution;

      C.     Enjoining Defendants to provide notice to Plaintiffs of the reason why

             U.S. COMPANY was deemed ineligible for USAID awards; enjoining

             Defendants to consider in good faith any rebuttal Plaintiffs choose to

             submit in response to said basis; and enjoining Defendants to revisit

             their ineligibility determination in light of any such rebuttal;

      D.     Declaring that Defendants’ actions violated the Federal Acquisition

             Regulations; and

      E.     Granting such other relief as the Court deems appropriate.

Dated:       April 11, 2019             Respectfully submitted,

                                               /s/ Jason C. Lynch
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                                        U.S. COMPANY

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